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Attorneys for Defendants
WARRIOR TRADING, INC:;
and ROSS CAMERON

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

JEFFREY P. FORTIS, an individual,
Plaintiff,

V.

WARRIOR TRADING, INC., a Delaware

corporation; ROSS CAMERON, an
individual; and DOES 1 through 50,
inclusive,

Defendants.

 

 

Case No.:

 

| Previously Yolo County Superior Court Case
Number CV 19-472; Assigned to the Hon.
Peter M. Williams, Dept. 8|

DECLARATION OF ROSS CAMERON
IN SUPPORT OF DEFENDANTS
WARRIOR TRADING, INC. AND ROSS
CAMERON’S NOTICE OF REMOVAL
UNDER 28 U.S.C. §§ 1332, 1441, AND
1446

State Action Filed: March 7, 2019

 

 

 

DECLARATION OF ROSS CAMERON IN SUPPORT OF DEFENDANTS WARRIOR TRADING, INC. AND
ROSS CAMERON’S NOTICE OF REMOVAL UNDER 28 U’S.C. §§ 1332, 1441, AND 1446

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Case 2:19-cv-00627-MCE-KJN Document 1-4 Filed 04/12/19 Page 2 of 3

DECLARATION OF ROSS CAMERON

I, Ross Cameron, hereby declare and state as follows:

l. I am over the age of eighteen and I have personal knowledge of the matters
contained herein. I make this Declaration in support of Defendants’ Notice of Removal pursuant
to 28 U.S.C. Sections 1332, 1441, and 1446, in the above-entitled matter. If called as a witness,
I could and would testify competently to the matters set forth in this Declaration.

2, I am the founder, president, and chief executive officer for Defendant WARRIOR
TRADING, INC. (the “Company”). In my role, I oversee and manage the Company’s business,
strategy, and operations. As a result of my position, I am also knowledgeable about the
Company’s place of formation, corporate structure, and its principal place of business.

3. On March 14, 2019, the Company was served with the Summons and Complaint
entitled Jeffrey P. Fortis v. Warrior Trading, Inc., et al. and designated Case Number CV-19-
472.

4. The Company was incorporated in the State of Delaware and it maintains its
principal place of business at 47 Railroad Street Unit #5, Great Barrington, Massachusetts 01230.
The Company’s leadership is located at its headquarters in Great Barrington, Massachusetts, and
its core executive and administrative functions are primarily carried out of its headquarters in
Great Barrington, Massachusetts.

a The Company’s state of incorporation, corporate headquarters, and the location
of its leadership have remained consistent from the time the above-entitled action was filed in
the Yolo County Superior Court on or about March 7, 2019, through the execution of this
Declaration.

6. The Company does not direct, control, or coordinate its activities from a principal
place of business in the State of California.

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DECLARATION OF ROSS CAMERON IN SUPPORT OF DEFENDANTS WARRIOR TRADING, INC. AND
ROSS CAMERON’S NOTICE OF REMOVAL UNDER 28 U.S.C. §§ 1332, 1441, AND 1446
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7. At the time of the filing of the above-entitled state court action, I was, and still

am, a resident of the State of Massachusetts. I work out of the Company’s headquarters located

in Great Barrington, Massachusetts.

I declare under penalty of perjury under the laws of these United States of America and

California that the foregoing is true and correct. Executed this 49 — day of April, 2019 in Great

Barrington, Massachusetts.

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DECLARATION OF ROSS CAMERON IN SUPPORT OF DEFENDANTS WARRIOR TRADING, INC. AND
ROSS CAMERON’S NOTICE OF REMOVAL UNDER 28 U.S.C. §§ 1332, 1441, AND 1446

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